   Case: 1:00-cv-00780-SJD Doc #: 119 Filed: 12/15/03 Page: 1 of 1 PAGEID #: 32




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION


Philecia Barnes, formerly known as               :
Phillip W. Barnes                                :       Case No. C-1-00-780
                                                 :
                       Plaintiff                 :       District Judge Susan J. Dlott
                                                 :
       v.                                        :       ORDER
                                                 :
City of Cincinnati                               :
                                                 :
                       Defendant                 :



       This matter comes before the Court on Plaintiff’s Motion for Attorney’s Fees. (Doc. # 105).

Defendant City of Cincinnati’s response to Plaintiff’s motion is due January 5, 2004. Plaintiff then

has until January 12, 2004 to reply to Defendant’s response.

       IT IS SO ORDERED.




                                                             ___s/Susan J. Dlott____________
                                                             Susan J. Dlott
                                                             United States District Judge
